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                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

    In re                                             )
                                                      )     Chapter 11
                                                      )
    BLACKJEWEL, L.L.C., et al. 1                      )     Case No. 19-30289
                                                      )
                          Debtors,                    )     (Jointly Administered)
                                                      )
                                                      )
    THE BLACKJEWEL LIQUIDATION                        )
    TRUST,                                            )     Chapter 11
                                                      )
                          Plaintiff                   )     Adversary Proceeding No. 21-03007
    vs.                                               )
                                                      )
    CONSTRUCTION & RECLAMATION                        )
    SERVICES, LLC,                                    )
                                                      )
                          Defendant.                  )
                                                      )


                                      STIPULATION OF DISMISSAL

            Plaintiff The Blackjewel Liquidation Trust and Defendant Construction & Reclamation

Services, LLC, pursuant to Fed. R. Civ. P. 41, as made applicable by Fed. R. Bankr. P. 7041,

hereby stipulate and agree, by and through their undersigned counsel, that this action is dismissed

with prejudice to refiling, and with each party to pay its own costs and fees.



DATED: April 11, 2022                              SUPPLE LAW OFFICE, PLLC

                                                   Joe M. Supple, Bar. No. 8013
                                                   801 Viand St.
                                                   Point Pleasant, WV 25550

1
  The former Debtors in these chapter 11 cases and the last four digits of each former Debtor’s former taxpayer
identification number are as follows: Blackjewel, L.L.C. (0823); Blackjewel Holdings L.L.C. (4745); Revelation
Energy Holdings, LLC (8795); Revelation Management Corporation (8908); Revelation Energy, LLC (4605);
Dominion Coal Corporation (2957); Harold Keene Coal Co. LLC (6749); Vansant Coal Corporation (2785);
Lone Mountain Processing, LLC (0457); Powell Mountain Energy, LLC (1024); and Cumberland River Coal
LLC (2213).



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                                        – and –

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                                      Counsel for Defendant




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                                CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the foregoing Stipulation of Dismissal
was filed and served upon counsel for Defendant via electronic mail this 11th day of April, 2022.


                                                            /s/ Scott A. Kane
                                                            Scott A. Kane




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